                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  EASTERN DIVISION
                                   No. 4:14-CV-186-D



SAUL lllLLEL BENJAMIN,                     )
                                           )
                          Plaintiff,       )
                                           )
               v.                          )                      ORDER
                                           )
NICHOLAS SPARKS~ et al.,                   )
                                           )
                         Defendants,       )


       On October 2, 2014, Saul Hillel Benjamin ("Benjamin" or ''plaintiff') filed this action against

Nicholas Sparks ("Sparks"), The Epiphany School ofGlobal Studies ("Epiphany" or "TESGS"), and

the Nicholas Sparks Foundation ("Foundation") (collectively, "defendants") alleging discrimination

in violation of 42 U.S.C. § 1981, Title VII, and the Americans with Disabilities Act ("ADA");

retaliation in violation of 42 U.S.C. § 1981 and Title VII; breach of contract; defamation; false

imprisonment; and
               ·l
                  assault [D.E. 1, 51]. On November 13, 2017, defendants moved for summary

judgment. On September 28, 2018, the court:granted in part and denied in part Sparks's Ihotion for

summary judgment, the Foundation's motion for summary judgment, and Epiphany's motion for

summary judgment [D.E. 243]. The court enters this order to explain that decision.

                                                  I.

       In 2005, Nicholas Sparks and Cathy Sparks founded the Epiphany School of Global Studies,

a private, college preparation, coeducational school that celebrates Christian traditions, in New Bern,

North Carolina. See [D.E. 132] ~~ 1-2; [D.E. 149] ~2. Epiphany serves studentsfromgradesK-12

across two campuses located approximately one quarter mile from each other (the ''upper" and




          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 1 of 44
"lower'' campuses). See [D.E. 132] ~ 2. In 2013, Sparks served as chair of Epiphany's Board of

Trustees (the "Board"). See [D.E. 149] ~ 3. Melissa Blackerby, Tracey Lorentzen, and S. McKinley

Gray were also members ofEpiphany's Board. See [D.E. 51]~~ 17-19. In2009, Sparks started the

Foundation, a non-profit organization that raises scholarship money for Epiphany students and

otherwise supports the school. See [D.E. 149]     ~   5. In 2013, Sparks served as the chair of the
                   \


Foundation. See id. ~ 6.

       In November 2012, Tom McLaughlin, the school's first "Head of School" or headmaster,

announced that he had accepted a position at a school in Texas and would resign at the end of the

school year. See id. ~ 8; [D.E. 143-34] ~ 10. The Board agreed to start looking for a replacement

and formed a Search Committee. See [D.E. 143-34] ~ 11. The Board retained, through the search

firm Carney Sandoe and Associates, a recruiter named Tom Plihcik ("Plihcik") to locate a new

headmaster. See [D.E. 149]   ~   9; [D.E. 132] ~ 3. Sparks and the Search Committee worked with

Plihcik to identify the desired qualifications of Epiphany's next headmaster. See [D.E. 149] ~ 11;

[D.E. 142-18]. Based on advice from Carney Sandoe, Sparks also agreed to divide the headmaster

position into two jobs-headmaster and chaplain-both of which McLaughlin had performed. See

[D.E. 149] ~ 12.

       In December 2012, Plihcik recommended Benjamin for the position of headmaster. See

[D.E. 132] ~ 4; [D.E. 149] ~ 13; [D.E. 167] -,r 76; [D.E. 170] ~ 272. At the time, Benjamin was a

visiting professor at Al Akhawayn University in Morocco. See [D.E. 132]       ~   5; [D.E. 172-1] 18.

Benjamin submitted his CV and, in a follow-up e-mail to Sparks, sent a personal narrative detailing,

inter ali~ his religious background and his personal educational philosophy. See [D.E. 144-9]; [D.E.

141-1]. Benjamin's CV disclosed that, from 2012 until present, he served as a distinguished

professor ofliberal arts at Al Akhawayn University in Morocco; from 2009 until2012, he served as

                                                 2

          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 2 of 44
a distinguished professor of liberal arts and international pedagogy at International School of

Stuttgart; from 2007 until 2009, he served as a distinguished visiting professor of history and

leadership studies at The American Community School at Beirut; from 1999 until200S, he was the

vice president of strategic initiatives and a founding member ofTeachscape; from 1996 until1999,

he served as headmaster of The Verde Valley School; from 1993 until 1996, he served as senior

advisor and special assistant for policy at the United States Department of Education; from 1991
                   (

unti11993, he served as deputy national policy director for Bill Clinton; and from 1985 until1991,

he served as a director of the University Honors Program at Montana State University. See [D.E.

144-9] 2-3. His CV also listed under "Education":

            •          Dartmouth College's Project ABC (A Better Chance) for poverty/minority
                       students
            •          A.B. (1970) Kenyon College, honors in humanities and interdisciplinary
                       studies
            •          MA. (1980) Oxford University highest honors in S of 8 PPE papers
            •          D.Phil. Oxford University, Theology and Political Philosophy (241 page
                       thesis completed, but degree-authorizing viva voce exams postponed due to
                       1984 car accident)

ld. at 3.

            OnDecember22, 2012, Sparks noted that Benjamin's "resume [was] ... staggeringly good"

and discussed plans to bring Benjamin to New Bern to meet with the Search Committee. See [D.E.

141-S]. On December 29, 2012, Benjamin and Dr. Jennifer Dueck ("Dueck"), his wife, visited New

Bern and met with the members of the Board. See [D.E. 149] ~ 78; [D.E. 141-6] 2. On January 2,

2013, Sparks e-mailed the Search Committee and indicated his desire to extend an offer to Benjamin

quickly. See id. at S--6; [D.E. 149] ~ 21; [D.E. 143-34] ~ 20. In late January 2013, Sparks brought

Benjamin back to New Bern "to meet with a broader group of [Epiphany's] community, including

students, parents, faculty, and staff." [D.E. 149] ~ 86. Students, parents, faculty, and staff evaluated


                                                       3

                Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 3 of 44
Benjamin on various criteria including "Christian Tradition." See [D.E. 141-8]; cf. [D.E. 145-8]

(referring to some parents' concerns about Benjamin's ability to ''uphold the Christian pillar" of

Epiphany).

       On January 28, 2013, the Search Committee voted to extend an offer to Benjamin for the

headmaster position. [D.E. 149] ~ 91. Benjamin accepted and entered into two contracts, one with

Epiphany to serve as headmaster and one with the Foundation to serve as an independent contractor.

See [D.E. 149] ~ 97; [D.E. 170] ~ 292; [D.E. 167] ~ 96. Benjamin's agreement with Epiphany was

forfouryearswitha base salaryof$168,000 and benefits. See [D.E. 149] ~~94--96; [D.E. 141-13].

Benjamin's agreement with the Foundation was also for four years with a salary of $88,000. See

[D.E. 149] ~ 97; [D.E. 141-12]. The Foundation hired Benjamin "so that part of his salary would

not be on the books of [Epiphany]." [D.E. 170]      ~   293. Both contracts provided for a term of

employment to begin on July 1, 2013. See [D,.E. 141-12, 141-13]. In addition, defendants could

terminate Benjamin's employment under both the Epiphany contract1 and the Foundation contract.2


       1
           Benjamin's employment contract with Epiphany provided, in part:

       7.     Termination. This Agreement shall terminate upon the occurrence of any
       of the following events: (a) immediately upon the death of the Head of School; (b)
       upon the effective date of Resignation by the Head of School (as defined below); (c)
       upon the effective date following notice by the Board to the Head of School of
       Termination Without Cause (as defined below); (d) upon the close ofbusiness on the
       date the Board gives the Head of School notice ofTermination for Cause (as defined
       below)[;] or (e) upon the close ofbusiness on the last day of any extended term upon
       non-renewal of this Agreement; or (f) upon the end of the time period specified
       following the Disability of the Head of School (as defined below).

[D.E. 141-13] 5.
       2
           Benjamin's independent contractor agreement with the Foundation provided, in part:

       Section 6. Cancellation. Foundation may cancel this agreement upon thirty (30)
       days written notice to Benjamin for any reason. In the event that cancellation occurs

                                                4

           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 4 of 44
Id. The headmaster contract with Epiphany provided that Benjamin be given thirty days to cure any

.behavior before he could be terminated for cause. See [D.E. 167] -,r-,r 106-07; [D.E. 141-13] 6.

       Benjamin's duties at Epiphany began shortly after he was hired. On January 27,2013, the

Board resolved to have David Wang ("Wang"), the assistant headmaster, hire Epiphany's new

chaplain. See [D.E. 142-24]; [D.E. 149] -,r 116. Once Benjamin was hired, the Board agreed that

BenjaminandWangshouldjointlyhirethenewchaplain. See[D.E.142-26]; [D.E.149]-,r118. The

Board provided Benjamin with approximately sixty resumes, and Sparks encopraged Benjamin ''to

act quickly in hiring the chaplain." See [D.E. 149] -,r-,r 119-20. In addition, over the summer,

Benjamin revised Epiphany's faculty, student, and community handbooks. See id. -,r-,r 106-11; [D.E.

141-15].    Benjamin revised the grievance policy in the faculty handbook and added a

nondiscrimination policy to all handbooks. See [D.E. 149] -,r-,r 107, 111; [D.E. 147-21] -,r 38.

        As the school year began, Benjamin began to have difficulties with faculty, staff, and parents.

The parties dispute the extent to which Benjamin contributed to these difficulties. For example, the

defendants allege that Benjamin made derogatory remarks about where faculty and staff went to

school, criticized faculty and staff who did not share his views, criticized faculty and staff for their

religious views, and referred to some Epiphany parents as racists and bigots. See [D.E. 132] -,r-,r

8-11; [D.E. 149] -,r-,r 137-38. The defendants also allege that Benjamin missed critical deadlines,


        less than nine months prior to the end of Te'rm, or is for any reason other than
        Benjamin's death, conviction of or .entering into a plea bargain or plea of nolo
        .contendere with respect to ·any felony; any act or acts of fraud or dishonesty by
        Benjamin; or the persistent refusal of Benjamin to perform services for the
        Foundation pursuant to this agreement without cause or explanation, the Foundation
        shall continue Benjamin's compensation for one calendar year following the date of
        cancellation. Benjamin's compensation shall also continue for one year following
        expiration of this Agreement or any extension thereof.

[D.E. 141-12] 3.

                                                   5

           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 5 of 44
failed to integrate himself into the Epiphany community (e.g., because Benjamin did not regularly

attend school events), and did not spend enough time at Epiphany's lower campus. See [D.E. 132]

,, 11-14; [D.E. 149] ,, 135-36. Benjamin disputes these allegations.

       For his part, Benjamin alleges that some members ofthe Epiphany community were skeptical

ofhim from the outset because ofhis religion and, inter ali~ his views on diversity. See,~. [D.E.

170] ,,273-77, 286-88,290-91,306-10,314-15,319-23,329-30,343. Benjaminallegesthathe

was committed to increasing racial diversity amongst Epiphany's faculty, staff, and student body.
                                                                                           '-
See [D.E. 170], 350; [D.E. 51], 33.3 As part of his diversity initiative, Benjamin organized a trip

to Washington, D.C., for the fiftieth anniversary of the 1963 Civil Rights March and Martin Luther

King, Jr.'s "I Have a Dream" speech. See [D.E. 170], 356. Benjamin also began to change

Epiphany chapel procedures, which did not go over well with some Epiphany community members.

See [D.E. 170] ,, 309, 381.

       At some point during the fall of2013, some in the Epiphany community began having issues

concerning student sexual orientation. See, e.g., [D.E. 172-9] 3. For example, Benjamin alleges that

a teacher at Epiphany made disparaging remarks about LGBT individuals to his students. See [D.E.

170] ,, 326-28. The parties dispute whether students, of their own volition, approached a faculty
                                                         i



member to informally discuss issues concerning their sexual identities or whether Benjamin was

involved in founding or facilitating a secret LGBT club. Compare [D.E. 132], 16, and [D.E. 149]

,, 125, 133-34, with Resp. [D.E. 167], 16, and [D.E. 170], 332, and [D.E. 172-9] 3-4. Benjamin

denies any involvement in starting an LGBT club and denies the club's existence.    See,~.      [D.E.

145-20] 4. But see, e.g., [D.E. 143-3] 13.


       3
         Sparks disputes any implication that Benjamin alone was committed to diversity initiatives
at Epiphany. See Resp. [D.E. 194] ,, 357-58, 364.

                                                 6

           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 6 of 44
       Benjamin alleges that some Epiphany students bullied other students based on their sexual

/orientation. For example, Wang received a report that a student called for a "homocaust" while in

class. See [D.E. 149] , 152; [D.E. 170] , 329; [D.E. 172-9] 4. Benjamin and Wang met with the

students accused of bullying and their parents. See [D.E. 149] ,, 153-55; [D.E. 172-9] 4. The

parents reported that Benjamin's conduct during the meeting was hostile and combative. See [D.E.

149] ,, 155-56; [D.E. 141-26, 141-27, 141-30, 141-31]. Around this time, Benjamin addressed

sexual orientation during chapel. See [D.E. 170] , 330.    Spar~ noted in an e-mail to the Board that


he perceived that some members of the Epiphany community found Benjamin's behavior ''too

provocative" and that Benjamin had "misplaced priorities at the school level (GLBT, diversity, the

beauty ofother religions, as opposed to academic/curricular/global issues, Christian traditions, etc.)."

[D.E. 172-20]. Sparks also noted that, while some community members were justifiably upset, many

others were pleased with the state of Epiphany, including Sparks's own children. Id.

       In October 2013, the Board began to express frustration with Benjamin because Benjamin

had not yet hired a chaplain and because of his conflicts with Epiphany faculty, staff, and parents.

See [D.E. 132] ,24; [D.E. 149] ,, 143-45; [D.E. 141-22, 172-33, 172-34, 172-36]. On0ctober30,

2013, the Board met with Benjamin during its monthly meeting. See [D.E. 149], 142. Benjamin

circulated a twenty-two page report to the Board in advance of the meeting detailing his work at

Epiphany to that point. See [D.E. 141-18].4 The Board also had a conversation about Benjamin's

challenges and successes at Epiphany, which they hoped would improve things at the school. See

[D.E. 149] ,, 147, 149; [D.E. 146-20].


        4
          As part of the report, Benjamin stated that "no week has gone by without [his] spending
at least one full and sometimes two full days at [the lower campus]." [D.E. 141-18]. Benjamin
conceded, however, that he "need[ed] to find ways to better schedule" his upper and lower campus
schedules because the upper campus demanded more of his time. ld.

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            Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 7 of 44
        Despite the Board's hope, Benjamin's relationship with the Epiphany community did not

improve. For example, the manner in which Benjamin handled the alleged bullying upset some

Epiphany parents. Conversely, Benjamin alleges that his relationship with the community did not

improve because Epiphany community members, including Board members, displayed contempt for

his religious preferences. Cf. [D.E. 144-33] 6. For example, Benjamin alleges that Gray and

Lorentzen confronted him about referring to Jesus as a rabbi and that Sparks discouraged him from

using the phrase "The Peoples of the Book" to "equateD Christians, Jews and Muslims." See [D.E.

170] ~~ 305, 307. Sparks also said in an e-mail to the Board: "While I have issues with Saul (as you

know) in the 'faith area', the [headmaster] report-and what it says-is not among them, since it's

mainly about administrative and college-prep focused issues." [D.E. 173-8]. The Board also

repeatedly reiterated that Benjamin needed to hire a Christian to serve as chaplain. See [D.E. 172-

34] ("[I]t should be made perfectly clear that the potential Chaplain should self-identify

himself/herself as Christian, either mainline Protestant ... or Catholic."); [D.E. 170]   ~~   312-13.

Benjamin also alleges tha(, on November 9, 2013, Benjamin hosted a dinner during which an

Epiphany community member asked "How can we trust a Jew to hire a Christian Chaplain?" See

[D.E.170] ~311.

        Benjamin alleges that Epiphany's Board and community resisted his efforts at increasing

racial diversity. Benjamin contends that Sparks suggested that African-American students could not

succeed at Epiphany, and Gray suggested that Epiphany's lack of athletic programs prevented the

school from effectively recruiting non-white students. See [D.E. 170] ~~ 346-49. Benjamin also

alleges that he was criticized for openly recruiting African-American students and affiliating with

New Bern's African-American community, including by attending an NAACP meeting. See [D.E.

170]   ~~   351-55. Defendants dispute these allegations. Furthermore, Benjamin alleges that he

                                                 8

             Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 8 of 44
 changed the school's nondiscrimination policy because the school would lose its accreditation

 otherwise, but Sparks says that Benjamin never sought legal advice concerning the policy and that

 the school's policy complied with all requirements. See [D.E. 144-5] 28.

          On November 17, 2013, Sparks wrote an e-mail to Benjamin describing the situation at the

 school as a "crisis." [D.E. 170] ~ 162; [D.E. 146-21]. Sparks highlighted Benjamin's advocacy on

. issues such as diversity and sexual orientation, his handling of alleged bullying, his treatment of

 religion particularly during chapel, and his treatment of Epiphany faculty and staff as contributing

 to the school's crisis. See [D.E. 146-21]. Nevertheless, in advance of the Board's annual Board

 Forum, Sparks e-mailed the Board and mged its members to support Benjamin. See [D.E. 149] ~

 167.

          On November 19, 2013, the Board held its annual Forum. See [D.E. 132] ~ 30; [D.E. 149]

 ~ 174.   During the Forum, Benjamin spoke about his personal religious beliefs. See [D.E. 132] ~ 31;

 Resp. [D .E. 167] ~ 31. The parties dispute whether Benjamin gave the speech voluntarily or whether

 Sparks required that Benjamin give the speech to explain his beliefs to the Epiphany community.

 Compare [D.E. 132] ~ 33, with [D.E. 167] ~~ 195-201; see [D.E. 172-19]. Benjamin maintains,

 however, that explaining his personal religious beliefs in such a manner conflicted with his Quaker

 religion. See [D.E. 51] ~ 63. Benjamin alleges that, following his speech, some audience members

 berated him, and Board members applauded such behavior. See [D.E. 167]            ~~   210-13. After

 Benjamin's speech, Gray explained how to file formal grievances, and Benjamin alleges that Sparks

 closed the Forum by soliciting grievances from Epiphany parents. See [D.E. 132] ~ 34; [D.E. 167]

 ~~ 202-05, 214-'15.

          The alleged solicitation of grievances is relevant because, around this time, Sparks and the

 Board began the process of removing Benjamin from his position as Epiphany headmaster. On

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             Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 9 of 44
November 18,2013, Sparks sent an e-mail to the Board that detailed the formal grievance process

and noted that he did not want to pay Benjamin's remaining salary under his contract in the event

of a legal battle. See [D.E. 167] ~ 184. On the same day, Sparks sent another e-mail saying that, if

Benjamin is "fired without cause, it will cost the school $664,000', plus the remainder of this year's

salary." See id. ~ 186 (alteration omitted). Sparks included in that e-mail a copy of the school's

policy on termination for cause. ld. On November 19, 2013;Sparks e-mailed the Board that he

"need[ed] faculty evidence of terminable offenses [for Benjamin]." Id. ~ 188; [D.E. 173-5]. Later,

Sparks told Gray that ''we're going to try to get Benjamin to resign voluntarily." See [D.E. 167] ~

232 (alteration omitted). Faculty and parents submitted at least nine formal grievances and

additionalinformalgrievances.'See [D.E.167] ~217; [D.E.145-32-145-39]; [D.E.141-27, 141-29,

141-30].

           On November 21, 2013, Sparks sent Benjamin an e-mail: "As Chairman of the [Board], I
             \

am requesting to meet with you in your office at 1:OOpm today, Thursday, Nov. 21." [D.E. 172-18].

Sparks called Gray and Lorentzen and asked them to join him for the meeting with Benjamin. See

[D.E. 149] ~ 200. Benjamin arrived for the meeting, rescheduled for the school's conference room,

and saw that Sparks, Gray, and Lorentzen were already present. See [D.E. 149] ~~ 202-03;        [D.~.


170]   ~   429. Epiphany's conference room is located at the end of a side hallway next to the

headmaster's office. See [D.E. 149] ~ 202. The room has one small window facing the entrance hall

of the school. Id.

           The parties dispute what happened. during the meeting. According to Benjamin, mice

Benjamin entered the room, Sparks immediately began shouting at Benjamin and held his fist in

frontofBenjamin's face. See [D.E. 170] ~~ 431,433-34, 437-39; cf. [D.E. 149] ~ 211. Benjamin

says that he felt physically threatened and was prevented from contacting anyone, including a lawyer.

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            Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 10 of 44
See [D.E. 170] ~~ 439-42. Benjamin alleges that he was told that he was being fired from Epiphany

and the Foundation. See [D.E. 170]          ~~   431-32. In   ad~tion,   Benjamin alleges that Gray told

Benjamin that, ifhe left the room, he would be terminated for cause. See id. ~ 435; [D.E. 149] ~ 217.

            Sparks, on the other hand, maintains that the meeting was held to negotiate a resignation so

that Benjamin would not have to be terminated for cause. See [D.E. 149] ~ 201. Sparks alleges that

the Board had cause to terminate Benjamin. See id. ~ 207. In particular, Sparks said that Benjamin

lied to the Board in his headmaster report concerning Benjamin's time spent at the lower campus.

See id. ~ 208. While Benjamin said he spent one to two days per week at the lower campus, Sparks

alleges that Benjamin spent little to no time 'there at all. See id.     ~   208; [D.E. 145-34] 3. Sparks

alleges that Benjamin asked ifhe was going to be fired over such a technicality, calling his statement

in the report a "modest understatement." See [D.E. 149] W209-10.

            After approximately 45 minutes, Lorentzen suggested that they call Dueck to join the

meeting. See [D.E. 149] ~ 230. Sparks left the room when Dueck arrived but later returned. See

id.   ~   232. Benjamin alleges that Gray told Benjamin that he was fired and that he needed to sign

something that said he was resigning. See [D.E.           170l~   450; [D.E. 167]   ~   254. Benjamin also

alleges that Sparks or Gray dictated the terms of Benjamin's resignation, which Benjamin hand

wrote. See [D.E. 167] ~ 255; Resp. [D.E. 170] ~ 239; [D.E. 170] ~ 451; see also [D.E. 142-9]. The

note, which Benjamin claims Sparks forced him to write, is partially illegible. See [D.E. 170] ~-,r

452-53; [D.E. 142-9]. The parties dispute whether Benjamin voluntarily resigned and whether the

parties agreed to refer to Benjamin's resignation/termination as an issue of"fit." See [D.E. 149] ~

244. In total, the meeting lasted between ninety minutes and two hours. See id. ~ 218.

            Following the meeting, Dueck and Sparks discussed Benjamin's mental health.           See,~'


[D.E. 149]      ~   240. The parties dispute whether Dueck or Sparks initiated the conversation. That

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             Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 11 of 44
night, Benjamin e-mailed Plihcik and stated that he resigned from Epiplui.ny. Benjamin forwarded

the e-mail to Sparks, Lorentzen, and Gray. See [D.E. 149] ~~ 242-43. Sparks later e-mailed Dueck

and further discussed Benjamin's mental health:

        I honestly believe he's incapable of working another job, but that's my opinion. He
        may be able to consult for a while, but again, I'm just guessing. The fact is this:
        [Benjamin] is NOT the man we hired in January. And he's gotten worse since late
        August, when school started up. And yet, again, I suspect it's not his fault. Which
        is why I'm not angry with him. And yet, I also hope you understand why we had to
        ask for his resignation.

 [D.E. 142-17].

        On November 22, 2013, Emily Sweet sent an e-mail to Benjamin notifying him that his

contract with the Foundation had been terminated. See [D.E. 143-28]. Sweet said that her message

confirmed Benjamin's conversation with Sparks that "[t]he Foundation is cancelling the

 [independent contractor agreement]." Id. Sweet noted that the reason for Benjamin's termination

was for cause for "any act of fraud or frauds or dishonesty by Benjamin." Id. On November 25,

2013, the Foundation sent Benjamin an updated letter that referenced his resignation, not

termination. See [D.E. 149] ~ 250.

        In the time leading up to and shortly after Benjamin's departure, Sparks made comments to

. others concerning Benjamin's mental health. Sparks called Plihcik and said that "he thought

[Benjamin] was insane," that "he ...wasn't the guy that [Sparks] hired," and ''that he may have had

a stroke or something." [D.E. 149] ~ 197. Sparks told the Board that Benjamin "may be suffering

from dementia or Alzheimer's or something along those lines because [Benjamin] just did not appear

rational in his actions;" [D.E. 149] ~ 256 (alteration omitted).. Finally, Sparks told Epiphany parent

Renee Coles that Sparks "had to terminate Mr. Benjamin because Mr. Benjamin had dementia and

bipolar disease" and ''thatbipolardiseaserunsinMr. Benjamin's family." [D.E. 143-32]; see [D.E.


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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 12 of 44
149], 255; [D.E. 143-33], 29; [D.E. 143-34], 96.

       On0ctober2,2014,Benjaminfiledsuitinfederalcourt. SeeCompl. [D.E.l] 1. Benjamin's

amended complaint contains sixteen claims. See Am. Compl. [D.E. 51],, 119-204. During

discovery, defendants discovered numerous factual inconsistencies in Benjamin's CV. For example,

Benjamin excluded his position as President of Deep Springs College from prior work experience.

See [D.E. 132] mf 67-70, 74. Benjamin resigned from Deep Springs after being employed for less

than one year, and Benjamin maintains that he has been told by multiple recruiters to not include it

on his CV. In addition, defendants allege that Benjamin's CV implies that Benjamin earned a

D.Phil. degree from Oxford, a degree that Benjamin does not hold. See [D.E. 132] , 70. Finally,

defendants allege that Benjamin's CV misstates his dates of employment at Montana State

University, in part to cover up his resignation from Deep Springs. See [D.E. 132] , 74.

       On March 23, 2016, this court dismissed certain claims and certain defendants. See

Benjamin v. Sparks, 173 F. Supp. 3d272 (E.D.N.C. 2016); [D.E. 54-57]. On November 13,2017,

the remaining defendants-Sparks, the Foundation, and Epiphany-moved for summary judgment

on all remaining claims. See [D.E. 131, 139, 140]. Benjamin opposed the motions for summary

judgment [D.E. 168, 169, 176].

                                                 II.

       Summary judgment is appropriate when, after reviewing the record as a whole, the court

determines that no genuine issue of material fact exists an:d the moving party is entitled to judgment

as a matter oflaw. Fed. R. Civ. P. 56(a); Anderson v. LibertY Lobby. Inc., 477 U.S. 242, 247-48

(1986). The party seeking summary judgment must initially demonstrate the absence of a genuine

issue of material fact or the absence of evidence to support the nonmoving party's case. Celotex

Cor,p. v. Catrett, 477 U.S. 317, 325 (1986). Once the moving party has met its bqrden, the

                                                 13

         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 13 of 44
nonmoving party may not rest on the allegations or denials in its pleading, Anderson, 477 U.S. at

248-49, but "must come forward with specific facts showing that there is a genuine issue for trial."

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (emphasis and

quotation omitted). A trial court reviewing a motion for summary judgment should determine

whether a genuine issue of material fact exists for trial. Anderson, 477 U.S. at 249. In making this

determination, the court must view the evidence and the inferences drawn therefrom in the light most

favorable to the nonmoving party. Scott v. Harris, 550 U.S. 372, 378 (2007).

        A genuine issue ofmaterial fact exists ifthere is suffiCient evidence favoring the nonmoving

party for a jury to return a verdict for that party. Anderso!l, 477 U.S. at 249. "The mere existence

of a scintilla of evidence in support ofplaintiff's position [is] insufficient ...." Id. at 252.; see Beale

v. Hardy, 769 F.2d 213, 214 (4th Cir. 1985) ("The nonmoving party, however, cannot create a

genuine issue of material fact through mere speculation or the building of one            infer~nce   upon
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another."). Only factual disputes that affect the outcome under substantive law properly preclude

summary judgment. See Anderso!l, 477 U.S. at 248.

                                                    A.
        In count one, Benjamin alleges that Sparks, the Foundation, and Epiphany discriminated

against him basedonhisJewishracein violationof42 U.S.C. § 1981. See Am. Compl. ~~ 119-23;

42 U.S.C. § 1981. Section 1981 provides a cause ofaction against private parties who deprive others

of the power to make and enforce contracts on the basis of race. See 42 U.S.C. § 1981; Johnson v.

Ry. Express Agency, Inc., 421 U.S, 454, 459-60 (1975). Purposeful, racially discriminatory actions

that impair an employment contract violate section 1981.     See,~' Bryant v. Bell Atl. Md.. Inc., 288


F.3d 124, 133 & n.7 (4th Cir. 2002); Spriggs v. Diamond Auto Glass, 165 F.3d 1015, 1018-19 (4th

Cir.1999); Pearsall v. Child Advocacy Comm'n of Lower Cape Fear. Inc., No. 7:98-CV-200-BR,

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          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 14 of 44
2000 WL 33682693, at *5-7 (E.D.N.C. Feb. 15, 2000) (unpublished). Individuals ofJewishdescent

"are considered to be a separate race" under section 1981. See Shaare Tefila Congregation v. Cobb,

481 U.S. 615,617 (1987); Saint Francis Coll. v. Al-Khazraii, 481 U.S. 604,609-13 (1987).

       A plaintiff may establish a section 1981 claim in two ways.            See Mallory v. Booth

Refrigeration Supply Co., 882 F.2d 908,910 (4th Cir. 1989); Anderson v. Westinghouse Savannah

River Co., 406 F.3d 248, 268 & n.4 (4th Cir; 2005); Cheny v. Elizabeth City State Univ., 147 F.

Supp. 3d 414, 421 (E.D.N.C. 2015). First, a plaintiff may demonstrate through direct evidence that

illegal discrimination motivated an employer's adverse employment action. Alternatively, a plaintiff

may proceed under the burden-shifting framework established in McDonnell Douglas Corp. v.

Gree!l,411 U.S. 792 (1973). See generally Hill v. LockheedMartinLogisticsMgmt.. Inc., 354F.3d

277,284-85 (4th Cir. 2004) (en bane).

       To show discrimination by direct evidence, a plaintiff typically must show discriminatory

motivation on the part of the decisionmaker involved in the adverse employment action. See Hill,

354 F.3d at 286-91. Such direct evidence would include a decisionmaker's statement that he

terminated the plaintiff's contract due to his race. The decisionmaker must be either the employer's

formal decisionmaker or a subordinate who was "principally responsible for," or "the actual

decisionmaker behind," the allegedly discriminatory action. Reeves v. Sanderson Plumbing Prods ..

Inc., 530 U.S. 133, 151-52 (2000) ..

       Even without direct evidence of discrimination, a plaintiff's section 1981 claim can survive

summary judgment if the plaintiff raises a genuine issue of material fact under the burden-shifting

framework established in McDonnell Douglas. Under McDonnell Douglas, a plaintiff may prove

a prima facie case of race discrimination by showing that (1) he i,s a member of a protected class; (2)

he was discharged; (3) he was fulfilling his employer's legitimate expectations at the time of his

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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 15 of 44
discharge; and (4) the discharge arose under circumstances permitting a reasonable inference ofrace

discrimination. See,~' Hill, 354 F.3d at 285; White v. BFI Waste Servs .. LLC, 375 F.3d 288,295

(4th Cir. 2004); Hughes v. Bedsole, 48 F.3d 1376, 1383 (4th Cir. 1995); Ricketts v. Logics. LLC,

No. 5:15-CV-293-D, 2017 WL 4293406, at *3 (E.D.N.C. Sept. 27, 2017) (unpublished).

       If the plaintiff establishes a prima facie case, the burden shifts to the defendant to produce

evidence that the adverse employment action was "for a legitimate, nondiscriminatory reason." Tex.

Dep'tofCmty. Affairs v. Burdine, 450 U.S. 248,254 (1981). This burden is one of production, not

persuasion. St. Mazy's Honor Ctr. v. Hicks, 509 U.S. 502, 509-11 (1993). If the defendant offers

admissible evidence sufficient to meet its burden of production, ''the burden shifts back to the

plaintiff to prove by a preponderance of the evidence that the [defendant's] stated reasons were not

its true reasons, but were a pretext for discririllnation." Hill, 354 F.3d at 285 (quotation pmitted);

see,~'   Reeves, 530 U.S. at 143; King v. Rumsfield, 328 F.3d 145, 150-54 (4th Cir. 2003).

       A plaintiff can prove pretext by showing that the alleged nondiscriminatory "explanation is

unworthy of credence or by offering other forms of circumstantial evidence sufficiently probative

of[race] discrimination." Mereish v. Walker, 359 F.3d330, 336 (4thCir. 2004) (quotation omitted);

see Reeves, 530 U.S. at 147. In analyzing the record concerning pretext, the court does not sit to

decide whether the employer in fact discriminated against the plaintiff. See,        ~'   Holland v ..

Washington Homes. Inc., 487F.3d208,215-17 (4thCir. 2007); Hawkins v. PepsiCo .• Inc.,203 F.3d

274, 279-80 (4th Cir. 2000). Rather, the court focuses on whether the plaintiff has raised a genuine

issue of material fact as to pretext under Reeves and its Fourth Circuit progeny. Under Reeves and

its Fourth Circuit progeny, a plaintiff asserting a section 1981 claim may not "simply show the

articulated reason is false; he must ·also show that the employer discriminated against him on the

basis of[race]." Laberv. Harvey, 438 F.3d404, 430-31 (4thCir. 2006)(en bane). In certain cases,
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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 16 of 44
however, the factfinder may infer illegal discrimination from the articulated reason's falsity~ See id.

at 431; Rowe v. Marley Co., 233 F.3d 825, 830 (4th Cir. 2000).

       An employer is entitled to summary judgment on the issue of pretext if the employee

"create[s] only a weak issue of fact as to whether the employer's reason [is] untrue and there [is]

abundant and uncontroverted independent evidence that" the alleged illegal discrimination did not

occur. Reeves, 530 U.S. at 148. Moreover, a plaintiff's own assertions of discrimination in and of

themselves are insufficient t9 counter substantial evidence oflegitimate, nondiscriminatory reasons

for a discharge. See Dockins v. Benchmark Commc'ns, 176 F.3d 745,749 (4th Cir. 1999); Iskander

v. Dep'tofthe Navy, 116 F. Supp. 3d 669, 678-79 (E.D.N.C. 2015), aff'g, 625 F. App'x. 211 (4th

Cir. 20 15) (per curiam) (unpublished). An employer lawfully can rely on poor performance in taking

adverse employment action. See Mereish, 359 F.3d at 335; Hawkins, 203 F.3d at 280; Fisher v.

Asheville-Buncombe Tech. Cmty. Coll., 857 F. Supp. 465,469-70 (W.D.N.C. 1993), aff'd, 25 F.3d

1039 (4th Cir. 1994) (per curiam) (unpublished table decision).

       "While individual liability cannot attach to individual members of the Board of Directors

under Title Vll, the Directors may be liable for vidlations of§ 1981 if they have intentionally

discriminated against plaintiff." Pearsall, 2000 WL 33682693, at *6. "Personal liability under

section 1981 must be predicated on the actor's personal involvement." Patterson v. Cty. of Oneid~
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375 F.3d 206, 229 (2d Cir. 2004) (quotation, and alteration omitted); see Hawthorne v. Va. State

Univ., 568 F. App'x 203, 204-()5 (4th Cir. 2014) (per curiam) (unpublished). "[A] plajntiffmust

demonstrate some affirmative link to causally connect the actor with the discriminatory action ...

." Hawthorne, 568 F. App'x at 204-()5 (quqtation omitted). For example, individual supervisors

may be held liable under section 1981 if they intentionally cause an employer to discriminate based

on race.   See,~,A1exanderv.    CityofGreensboro, 762F. Supp. 2d 764, 790-92(M.D.N.C. 2011);

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           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 17 of 44
Carson v. Giant Food. Inc., 187 F. Supp. 2d 462, 483 (D. Md. 2002) ("Directors or managers can be

held personally liable when they intentionally cause a Corporation to infringe the rights secured by

section 1981," but cannot be held liable when there is no evidence that they "directed, participated

in or even approved of intentional discrimination." (quotations omitted)), aff'd sub nom., Skipper

v. Giant Food Inc., 68 F. App'x 393 (4th Cir. 2003) (per curiam) (unpublished). Section 1981,

however, imposes liability on an individual only for his or her own intentional actions that cause an
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infringement of section 1981. See,~. Tibbs v. Balt. CityPoliceDep't, No. RDB-11-1335, 2012

WL 3655564, at *6 (D. Md. Aug. 23, 2012) (unpublished); Luy v. Balt. Police Dep't, 326 F. Supp.

2d 682, 688 (D. Md. 2004), aff'd, 120 F. App'x 465 (4th Cir. 2005) (per curiam) (unpublished);

Pearsall, 2000 WL 33682693, at *6 (collectfug cases).

       Benjamin has not produced direct evidence that defendants terminated his contracts due to

his Jewish race. See [D.E. 168] 14. Thus, Benjamin proceeds under the burden-shifting framework.

       As for Benjamin's section 1981 claim against Sparks, the court assumes without deciding

that Benjamin has established the first three elements of his prima facie case. See Spring v. Bd. of

Trs. of Cape Fear Cmty. Coll., No. 7: 15-CV-84-BO, 2017 WL 432789; at *2-3 (E.D.N.C. Jan. 30,

2017) (unpublished) (forced resignation can constitute adverse employment action); Reynolds v.

Town of Suffield, No. 3:10cv1528 (JBA), 2012 WL 3135896, at *5 (D. Conn. July 31, 2012)

(unpublished) (same). Even viewing the evidence in the light most favorable to Benjamin, no

rational jury could find that Sparks discriminated against Benjamin due to his Jewish race. During

the hiring process, Sparks knew about Benjamin's Jewish race and advocated hiring him. See [D.E.

149] ,, 21, 81; [D.E. 141-6] ,, 4--6 ("Should we offer [Benjamin] the position? YES. [Benjamin]

is without question the most qualified candidate for where we are right now as a school .... He's

the most qualified, period, and there's no doubt in my mind that he's the finest candidate we would

                                                 18

         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 18 of 44
interview, no matter how long we draw out this process."). Moreover, Sparks supported Benjamin

even after Benjamin began having performance problems at Epiphany. See [D.E. 149] ~~ 143, 145.

Furthermore, Sparks did not make any comments reflecting racially discriminatory animus

concerning Benjamin's Jewish race before, during, or after the November 21 meeting.

       The same-actor inference supports the conclusion that race discrimination did not motivate

Sparks. Epiphany and the Foundation, with Sparks's full support, hired Benjamin less than one year

before Benjamin's alleged termination, and Sparks knew of Benjamin's Jewish race from the

beginning. Even viewing the record in the light most favorable to Benjamin, no rational jury could

conclude that the same person who was instrumental in having Epiphany and the Foundation hire

Benjamin knowing about his Jewish race possessed racial animus due to Benjamin's Jewish heritage

less than one year later. See Proud v. Stone, 945 F.2d 796, 797-98 (4th Cir. 1991) (discussing the

same-actor inference); see also Taylor v. Va. Union Univ., 193 F.3d 219, 231 (4th Cir. 1999) (en

bane), abrogated in part on other grounds by Desert Palace Inc .• v. Cosm, 539 U.S. 90 (2003);

Tyndall v. Nat'lEduc. Ctrs.. Inc., 31 F.3d209~ 214-15 (4thCir. 1994); Ricketts,2017WL4293406,

at *5; Abulsaad v. Reliable & Loyal Mgmt., No. 7:11-CV-241-FL, 2013 WL 5177665, at *12

(E.D.N.C. Sept. 12, 2013) (unpublished). Thus, Benjamin's section 1981 claim against Sparks fails.

       Alternatively, even ifthe court assumes that Benjamin established a prima facie case of race

discrimination, Sparks had a legitimate, nondiscriminatory reason for having Epiphany and the

Foundation discharge Benjamin: poor performance. The poor performance included Benjamin's

dishonesty concerning time spent at the lower campus, Benjamin's lack of engagement with the

Epiphany community, and Benjamin's failure to hire a chaplain. See [D.E. 193] 4. As for pretext,

taking the evidence in the light most favorable to Benjamin, Benjamin can show that Sparks

allegedly told at least one Epiphany parent that he terminated Benjamin due to Benjamin's alleged

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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 19 of 44
mental illness, not poor performance. See [D~E. 149] ~ 255; [D.E. 170] ~~ 478, 480. This evidence

creates a genuine issue concerning whether the articulated reason for Benjamin's termination was

false. Nonetheless, even viewing the record in the light most favorable to Benjamin, no rational jury

could find that Sparks discriminated against Benjamin on the, basis of his Jewish race (particularly

given the same-actor inference). See Reeves, 530 U.S. at 148-49; Holland, 487 F.3d at 216-18;

Laber, 438 F.3d at 430-31. Accordingly, the court grants Sparks's motion for sllllliD.ary judgment

on count one.

       As for Benjamin's section 1981 race discrimination claim against the Foundation, the claim

also fails. In asserting a section 1981 race discrimination claim against the Foundation, Benjamin

primarily relies on Sparks's alleged conduct. See [D.E. 169] 19-22. Benjamin has failed to raise

a genuine issue of material fact concerning Sparks under section 1981, and he also has failed to

failed to raise a genuine issue of material fact concerning the Foundation under section 1981.

Accordingly, the court grants the Foundation's motion for summary judgment on Benjamin's section

1981 race discrimination claim.

       As for Benjamin's section 1981 race discrimination Claim against Epiphany, Benjamin's

claim similarly fails. Even if Benjamin can show a prima facie case of race discrimination against

Epiphany, Epiphany has a legitimate, nondiscriminatory reason for terrb.inating Benjamin: poor

performance. As with Sparks, Benjamin has not created a genuine issue of material fact concerning

whether Epiphany's articulated reason for Benjamin's termination, even if false, was a pretext for

race discrimination. See Reeves, 530U.S. at ~48-49; Holland,487 F.3dat216-18; Laber,438 F.3d

at 430-31. No rational jury (particularly in light of the same-actor inference) could find that

Epiphany discriminated against Benjamin on the basis of his Jewish race. Accordingly, the court

grants Epiphany's motion for summary judgment on count one.

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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 20 of 44
                                                  B.
       In count one, Benjamin alleges that Sparks, the Foundation, and Epiphany harassed him

based on his Jewish race in violation of section 1981. See Am. Compl. ,, 119-23. To state a hostile

work environment claim under section 1981, Benjamin must plausibly allege that (1) he experienced

unwelcome harassment, (2) the harassment was based on his Jewish race, (3) the harassment was

sufficiently severe or pervasive to alter the conditions of his employment and create an abusive

working environment, and (4) the harassment was imputable to his employer. See Causey v. Balog,

162 F.3d 795,801,804 (4th Cir. 1998); see also Ocheltreev. ScollonProds.. Inc., 335 F.3d 325,331

(4th Cir. 2003) (en bane) (listing similar elements for prima facie case for hostile w9rk environment
                                                                   "•


under Title Vll). A "plaintiff [also] must demonstrate some affirmative link to causally connect the
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actor with the discriminatory action, and the claim must be predicated on the actor's personal

involvement." Hawthorne, 568 F. App'x at 204--05 (quotations omitted). To be attributable to the

defendant, conduct must either have been ·the action of a particular defendant or have been

authorized or directed by him.   See,~.   Atkins v. Winchester Homes, No. CCB-06-278, 2007 WL

269083, at *9 (D. Md. Jan. 17, 2007) (unpublished) ("Under Section 1981, individual supervisors

must play an active role in the harassmentto trigger liability."); Carso!l, 187 F. Supp. 2d at 483-84.

       To determine whether conduct was sUfficiently severe or pervasive to alter the employee's

terms and conditions of employment and to create an abusive working environment, the court

examines the allegations both subjectively ~d objectively.     See,~.    Harris v. Forklift Sys .. Inc.,

510 U.S. 17, 21-22 (1993). First, the employee must subjectively consider the conduct to be

sufficiently severe or pervasive as to alter his conditions of employment. See, ~. Clark Czy. Sch.

Dist. v. Breede!l, 532 U.S. 268, 270-71 (2001) (per curiam); Faragher v. City of Boca Rato!l, 524

U.S. 775,787-88 (1998); Boyer-Liberto v. Fontainebleau Corp., 786 F.3d 264,277 (4th Cir. 2015)

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          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 21 of 44
(en bane). Second, a court views the conduct from the perspective of a reasonable person in the

employee's position to determine whether it is objectively severe or pervasive. See,~' Breeden,

532 U.S. at 271; Faragher, 524 U.S. at 787-88'; Oncale v. Sundowner Offshore Servs.. Inc., 523 U.S.

75, 81-82 (1998); Boyer-Liberto, 786 F.3d at 277.

       The objective component helps courts ''to police the baseline for hostile environment

claims." Mendoza v. Borden. Inc., 195 F.3d 1238, 1244 (11th Cir. 1999) (en bane) (quotation

omitted). The court considers the "frequency of the discriminatory conduct; its severity; whether it
                                   l



is physically threatening or humiliating, or a mere offensive utterance; and whether it unreasonably

interferes with an employee's work performance." Harris, 510 U.S. at 23. The conduct must be

severe or pervasive to be actionable. See id.; Faragher, 524 U.S. at 787-88; Boyer-Liberto, 786 F.3d

at 277-78. Section 1981 does not create a general civility code for the American workplace. See

Faragher, 524 U.S. at 787-88; Boyer-Liberto, 786 F.3d at 277. The "conduct must ... amount to

a change in the terms and conditions of emplo)rment." Faragher, 524 U.S. at 788; see Boyer-Liberto,

786 F .3d at 277-81. Simple teasing, sporadic rude language, offhand comments, jokes related to a

protected status, and isolated incidents (unless extremely serious) will not amount to discriminatory

changes in the terms and conditions of employment. See Burlington N. & Santa Fe Ry. v. White,

548 U.S. 53, 68-69 (2006); Breeden, 532 U.S. at 270-71; Faragher, 524 U.S. at 788; cf.

Boyer-Liberto, 786 F.3d at 277-81. Likewise, mere rude or insensitive treatment cannot sustain a

hostileworkenvironmentclaim.      See,~'    Baqirv. Principi, 434 F.3d 733,746-47 (4th Cir. 2006);

see also Breeden, 532 U.S. at 270-71; Faragher, 524 U.S. at 787-88; Oncale, 523 U.S. at 81-82; cf.

Boyer- Liberto, 786 F.3d at 277-81; Walker v. Mod-U-KrafHomes. LLC, 775 F.3d 202,207-10

(4th Cir. 2014); Freeman v. Dal-Tile Cor.p., 750 F.3d 413,420-24 (4th Cir. 2014); Okoli v. City of

Balt., 648 F.3d 216, 220-22 (4th Cir. 2011).

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          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 22 of 44
       Although hostile work environment claims often involve repeated conduct, an "isolated

incident of harassment can amount to discriminatory changes in the terms and conditions of

employment, if that incident is extremely serious." Boyer-Liberto, 786 F.3d at 277 (quotations and

alterations omitted); see Pzyor v. United Air Lines. Inc., 791 F.3d 488, 496-97 (4th Cir. 2015);

Okoli, 648 F.3d at 220 & n.5. Furthermore, in assessing the severity of the harassing conduct, the

status of the harasser is an important factor. See Boyer-Liberto, 786 F.3d at 278; Sonnier v.

Diamond Healthcare Corp., 114 F. Supp. 3d 349, 356 (E.D. Va. 2015). A "supervisor's power and

authority invests his or her harassing conduct with a particular threatening character." Burlington

Indus .. Inc. v. Elletlh, 524 U.S. 742, 763 (1998); see Boyer-Liberto, 786 F.3d at 278.

       Even viewing the record in the light most favorable to Benjamin, no rational jury could find

that defendants harassed Benjamin because he was Jewish or that the conduct attributable to any of

the defendants was objectively severe or pervasive enough to constitute a change in the terms of

Benjamin's employment. SeeBaqir, 434 F.3ciat746-47; Ismail v. United Transp. Union, No. 7:13-

CV-94-BR, 2015 WL 1893577, at *6 (E.D.N.C. Apr. 27, 2015) (unpublished). Therefore, the court

grants defendants' motions for summary judgment on Benjamin's section 1981 harassment claim.

                                                 c.
       In count two, Benjamin alleges retaliation in violation of section 1981. See Am. Compl. mf

124-28. Section 1981 provides a remedy not only for a person who claims race discrimination

concerning a 'contract but also for a person claiming retaliation in response to complaining about a

section 1981 violation. See, e.g., CBOCS W .. Inc. v. Humphries, 553 U.S. 442, 451-52 (2008);

Boyer-Liberto, 786 F.3d at 281. Benjamin's amended complaint contains no direct evidence of
                                             .                                            I



retaliation under section 1981, and Benjamin proceeds under the McDonnell Douglas burden-shifting



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          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 23 of 44
framework. See,~' Boyer-Liberto, 786 F.3d at 281; Honor v. Booz-Allen & Hamilton. Inc., 383

F.3d 180, 188 (4th Cir. 2004); Bcyant, 333 F.3d at 543-45.

        To establish a prima facie case ofret8.I.iation, a plaintiff must show that (1) he engaged in

protected activity; (2) the party to his contract took an action against him that a reasonable person

would find materially adverse; and (3) a causal connection existed between the protected activity and

the adverse action. See,   ~'   Burlington N. & Santa Fe Ry., 548 U.S. at 67-70; DeMasters v.

 Carilion Clinic, 796 F.3d 409, 416 (4th Cir. 2015); Foster v: Univ. ofMd.-E. Shore, 787 F.3d 243,

250 (4th Cir. 2015); Boyer-Liberto, 786 F.3d at 271; Balas v. Huntington Ingalls Indus .. Inc., 711

 F.3d401, 410 (4thCir. 2013); Holland, 487 F.3dat218; Pricev. Thompso!1,380 F.3d209, 212 (4th

Cir. 2004); Bcyant v. Aiken Reg'l Med. Ctrs. Inc., 333 F.3d 536, 543 (4th Cir. 2003); Spriggs v.

 Diamond Auto Glass, 242 F.3d 179, 190 (4th Cir. 2001).

        As for the first element, protected activity under section 1981 includes using "informal

grievance procedures as well as staging informal protests and voicing one's opinions in order to

bring attention to an employer's [racially] discriminatory activities." Laughlin v. Metro. Wash.

Ait:ports Auth., 149 F.3d 253,259 (4th Cir. 1998); see Chang Lim v. Azar, 310 F. Supp. 3d 588,

603-04 (D. Md. 2018). Furthermore, the plaintiff must show that the employment practices he

opposed were either "actually unlawful" under section 1981 or that he reasonably believed the

employment practices were unlawful under section 1981. See Breede!1, 532 U.S. at 271; DeMasters,

796 F.3d at 417; Boyer-Liberto, 786 F.3d at 282; Bonds v. Leavitt, 629 F.3d 369, 384 (4th Cir.

2011 ); Chang Lim, 310 F. Supp. 3d at 603-04. "Complaints about management activities that would

not constitute unlawful discrimination [under section 1981] do not count as protected activity."

 Chang Lim, 310 F. Supp. 3d at 604; see Freilich v. Upper Chesapeake Health. Inc., 313 F.3d 205,

. 216-17 (4th Cir. 2002); Brown v. Goodwill Indus. ofE. N.C .. Inc., No. 4:17-CV-144-D, 2018 WL

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          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 24 of 44
2422315, at *2-3 (E.D.N.C. May 29, 2018) (unpublished).

         As for Benjamin's retaliation claims under section 1981, Benjaniin has not produced

sufficient evidence to establish a prima facie case. First, Benjamin did not engage in protected

activity under section 1981. See [D.E. 176] 25-26. Rather, Benjamin notes that, as one of his first

initiatives as headmaster, he advocated to increase student diversity at Epiphany.         Id. at 6.

Benjamin's alleged advocacy for increased diversity at Epiphany, whether in its faculty, staff, or

students, does not constitute protected activity under section 1981. See Holden v. Owens-illinois.

Inc., 793 F.2d 745, 749 (6th Cir. 1986); Quintana v. Fujifilm N. Am. Corp., 96 F. Supp. 3d 601, 620

(N.D. Tex. 2015); Montgomeryv. DePaul Umv., No. 10 C 78,,2012 WL 3903784, at *9-10 (N.D.

ill. Sept. 7, 2012) (unpublished); Hood v. Pfizer. Inc., No. 04-3836(SRC), 2007 WL2892687,at *19

(D.N.J. Sept. 28, 2007) (unpublished). Likewise, voicing concern about possible disparate treatment

of students based on sexual orientation is not protected activity under section 1981. See Stennis v.

Bowie StateUniv., 716 F. App'x 164, 167 (4th Cir. 2017) (per curiam) (unpublished); see also

Harmon v. Cumberland Cty. Bd. ofEduc., 186 F. Supp. 3d 500,506 (E.D.N.C. 2016). Moreover,

Benjamin could not reasonably believe that Epiphany's hiring or student admission practices were

unlawfully racially discriminatory. See [D.E. 144-5] 28. Thus, to the extent that Benjamin claims

that he was opposing unlawful activity, he did not engage in protected activity under section 1981.
                           I

See Breeden, 532 U.S. at 271; Boyer-Liberto, 786 F.3d at 282.

         Even if Benjamin engaged in protected activity under section 1981, Benjamin has not

produced sufficient evidence of causation. Benjamin claims that he began advocating for increased

diversityatEpiphanyasoneofhisfirstinitiativesinAugust2013. See [D.E. 176] 6; [D.E. 172-12]
                                                                          /


~ 11.   Benjamin, however, did not suffer any adverse employm~nt consequences until November 21,

2013, a gap of over three months. A three-month lapse between Benjamin's alleged protected

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            Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 25 of 44
activity and his alleged termination is insufficient to establish causation for a retaliation claim. See,

~'   Breede!l, 532 U.S. at 273-74; Perry v. Kappos, 489 F. App'x 637, 643 (4th Cir. 2012)

(unpublished) (noting that "a three-month lapse is too long to establish causation"); Dowe v. Total

Action Against Poverty in Roanoke Valley, 145 F.3d 653, 657 (4th Cir. 1998) (a "lengthy time

lapse" between protected activity and adverse employment action negates any inference of

causation); Drago v. Jenne, 453 F.3d 1301, 1308 (11th Cir. 2006) (three-month time lapse

insufficient); Richmond v. ONEOK. Inc., 120 F.3d 205,209 (lOth Cir. 1997) (same); Jones v. Dole

Food Co., 827 F. Supp. 2d 532, 554 (W.D.N.C. 2011) ("[C]omplaints of retaliation are considered

stale after only a few months."); cf. King, 328 F.3d at 151 n.5 (a two-month time lapse between

protected activity and adverse employment action "is sufficiently long so as to weaken significantly

the inference of causation between the two events").

        Alternatively, even ifBenjamin established a prima facie case of section 1981 retaliation, no

rational jury could find that Sparks, the Foundation, and Epiphany retaliated against Benjamin for

protected activity under section 1981. As discussed, defendants had a legitimate, non-retaliatory

reason for terminating Benjamin's employment (i.e., poor performance). As for pretext, assuming

that advocating for increased diversity at Epiphany was a protected activity and viewing the evidence

in the light most favorable to Benjamin, Benjamin can show that Sparks was frustrated with

Benjamin's advocacy for diversity at the expense of other job requirements like hiring a chaplain.

See, e.g., [D.E. 173-17]. Moreover, viewing the evidence in the light most favorable to Benjamin,
                                                                                           /

some Board members questioned Benjamin's diversity initiatives. See,            ~'   [D.E. 170] , 170.

Nevertheless, no rational jury could conclude ,that Benjamin's advocacy for diversity caused

defendants to terminate Benjamin's contract with Epiphany or his contract with the Foundation. See

Univ. ofTex. Sw. Med. Ctr. v. Nassar, 570U.S. 338,346-360 (2013); Holland, 487F.3dat216-18;
                                                             '

                                                   26

          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 26 of 44
Price, 380 F.3d at 215-17; Tinsley v. First Union Nat'l Bank, 155 F.3d 435, 444 (4th Cir. 1998);

Miles-Stephens v. N.C. Dep't ofCorr., No. 5:11-CV-597-D, 2014 WL 3110018, at *6 (E.D.N.C.

July 7, 2014) (unpublished). Accordingly, the court grants defendants' motions for summary

judgment on Benjamin's section 1981 retaliation claim.

                                              D.
       In count three, Benjamin alleges that Epiphany terminated him because of his religion in

violationofTitle Vll. See Am. Compl. ~~ 129-33. Title Vllprohibitsanemployerfrom terminating

an employee "because of such individual's ... religion." 42 U.S.C. § 2000e-2(a)(l). Benjamin

alleges that Epiphany terminated his employment because of his Jewish and Quaker religions. See

[D.E. 176] 21-23. In support, Benjamin notes Board member statements that Epiphany was a

Christian school, Board member statements that some Epiphany community members would not

trust Benjamin because ofhis religious background, Board member requests that Benjamin not refer

to religions besides Christianity, Epiphany community member requests that Benjamin declare that

he believe in God, and Board member criticism of Benjamin's support for LGBT students. See id.

at 22. Because Benjamin has not produced direct evidence of discrimination on the basis of his

religion, Benjamin proceeds under the burden-shifting framework.

       The court assumes without deciding that Benjamin can show a prima facie case of religious

discrimination. See Abeles v. Metro. Wash. Ait:ports Auth., 676 F. App'x 170, 174-75 (4th Cir.

2017) (unpublished); Coleman v. Md. Court of Appeals, 626 F.3d 187, 190 (4th Cir. 2010), aff'd,

566 U.S. 30 (2012); Broadwayv. United Parcel Serv., Inc., No. 5:16-CV-803-D, 2018,WL 542666,

at *3 (E.D.N.C. Jan. 24, 2018) (unpublished). As discussed, Epiphany has offered alegitimate,

nondiscriminatory reason for Benjamin's alleged termination: poor performance. Thus, the burden

shifts to Benjamin to show evidence of pretext. As for pretext, Benjamin mischaracterizes some of

                                               27

         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 27 of 44
the statements by Board members that he :claims show pretext for religious discrimination. 5

Moreover, some of the statements are attributable to parents, not to Epiphany. As for statements

attributable to Epiphany, even viewing the evidence in the light most favorable to Benjamin, no
                                                                             \._




rational jury could find that Epiphany allegedly terminated Benjamin because of his Jewish or

Quaker religion. See Reeves, 530 U.S. at 148-49; Holland, 487 F.3d at 216-18; Laber, 438 F.3d at

430-31; Broadway, 2018 WL 542666, at *5. Accordingly, the court grants Epiphany's motion for

summary judgment on count three.

                                                    E.

       In count four, Benjamin alleges that Epiphany discriminated against him because of his

Jewish race in violation of Title VII. See Am. Compl. ,, 134--38. The court assumes without
                                   \

deciding that Benjamin can state a claim for race discrimination on the basis ofhis Jewish race under

Title VII. See Village of Freeport v.   Barrell~   814 F.3d 594, 606-07 (2d Cir. 2016); Krulik v. Bd.

of Educ., 781 F.2d 15, 21-22 (2d Cir. 1986); Bonadona v. La. Coli., No. 18-cv-224, 2018 WL

4353979, at *3-5 (W.D. La. July 13, 2018) (unpublished); cf. T.E. v. Pine Bush Cent. Sch. Dist., 58
                                                                                            -----
F. Supp. 3d 332, 354--55 (S.D.N.Y. 2014); Doran v. N.Y.· State Dep't ofHealth Office ofMedicaid

Inspector Gen., No. 15-cv-7217, 2017 WL 836027, at *12 n.3 (S.D.N.Y. Mar. 2, 2017)

(unpublished). The same analysis applies to Benjamin's race discrimination claim under section

1981 and his race discrimination claim under Title VII.    See,~'   Humphries, 553 U.S. at 455. Just

as Benjamin's race discrimination claim fails under section 1981, his Title VII race discrimination




       5
         For example, Sparks did not label Benjamin a ''threat to our Christian traditions." See
[D.E. 176] 8, 22. Instead, Sparks said that, in addition to ten other possible grounds for concerns,
Epiphany parents and faculty may have concerns with ''threats to our Christian traditions/lack of a
Chaplain/changes at Chapel, etc." [D.E. 172-~0].

                                                    28

           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 28 of 44
claim also fails. Accordingly, the court grants Epiphany's motion for summary judgment on count

four.

                                                   F.
          In count six, Benjamin alleges that Epiphany terminated him because of a perceived disability

in violation of the ADA.        See Am. Compl.     11   144-48. The ADA forbids employers from

discriminating against persons with disabilities. See 42 U.S.C. § 12112(a}-{b); Adams v. Anne

Arundel Cty. Pub. Sch., 789 F.3d 422,430 (4th Cir. 2015). The ADA defines "disability" as "(A)

a physical or mental impairment that substantially limits one or more major life activities ... ; (B)

a record of such an impairment; or (C) being regarded as having such an impairment (as described

in paragraph (3))." 42 U.S.C. § 12102(1); 29 C.F.R. § 1630.2(g)(1). Section 12102(3), in turn,

states:

          For purposes of paragraph (1)(C):

          (A) An individual meets the requirement of "being regarded as having such an
          impairment" if the individual establishes that he or she has been subjected to an
          action prohibited under this chapter because of an actual or perceived physical or
          mental impairment whether or not the impairment limits or is perceived to limit a
          major life activity.

          (B) Paragraph 1(C) shall not apply to impairments that are transitory and minor. A
          transitory impairment is an impairment with an actual or expected duration of 6
          months or less.

Under section 121 02(3), which Congress added in the ADAAA, an individual bringing a "regarded

as" claim need only show that an employer subjected him to an action that the ADA prohibits

because of an actual or perceived     impairm~nt   regardless of whether the employer perceived the

impairment to limit the individual in a major life activity. See 42 U.S.C. § 12102(3); 29 C.F.R. §

1630.2(1)(1); Olsen v. Capital Region Med. Ctr., 713 F.3d 1149, 1154 (8th Cir. 2013); Gecewicz

v. HenzyFordMacomb Hosp. Corp., 683 F.3d316, 321-23 (6thCir. 2012); Harris v. RestonHosp.

                                                   29

            Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 29 of 44
Ctr., LLC, No. 1:10-cv-1431, 2012 WL 1080990, at *4-5 (E.D. Va. Mar. 26, 2012) (unpublished).
                                                                             I

Thus, a "regarded as" claim under the ADAAA is much easier to prove than'a "regarded as" claim

beforetheADAAA. Cf. Youngv. United Parcel Serv., Inc., 707 F.3d437, 443-44 (4thCir. 2013)

(analyzing a pre-ADAAA "regarded as" claim); Rohan v. Networks Presentations LLC, 375 F.3d

266,277-78 (4th Cir. 2004) (same); Pollard v. High's ofBalt.. Inc., 281 F.3d 462,471 n.5 (4th Cir.

2002) (same); Davis v. Univ. of N.C., 263 F.3d 95, 99-100 (4th Cir. 2001) (same); Rhoads v.

F.D.I.C., 257 F.3d 373, 390-91 (4th Cir. 2001) (same); Haulbrook v. Michelin N. Am.. Inc., 252

F.3d 696, 703 (4th Cir. 2001) (same).

       Benjamin maintains that he is not, in fact, disabled. See Am. Compl. , 81. Instead, he argues

that Epiphany perceived Benjamin as disabled. See id. ,, 144-48; [D.E. 176] 17. In support,

Benjamin notes several conversations that Sparks had concerning Benjamin's mental health. See

[D.E. 132] , 61. For example, Sparks told an Epiphany parent that "he had to terminate Mr.

~enjamin because Mr.   Benjamin had dementia and bipolar disease." [D .E. 172-14] (declaration of

Renee Coles); [D.E. 143-33] ,29. In addition; Sparks discussed Benjamin's alleged resignation with

Dueck in an e-mail. See [D.E. 142-17]. After describing Benjamin's mental health, Sparks

concluded by saying that he hoped that Dueck ''underst[ood] why we. had to ask for [Benjamin's]

resignation." Id.

       The cited testimony constitutes direct evidence of disability discrimination by a

decisionmaker on the basis of Benjamin's perceived mental impairment. See Reeves, 530 U.S. at

141, 152-53; Hill, 354 F.3d at 284; Cherry, 147 F; Supp. 3d at 421-22. Moreover, the comments

"illustrate a nexus between [Sparks's] negative attitude and the employment action." Rayyan v. Va.

Dep't ofTransp., 719 F. App'x 198, 202    (4~   Cir. 2018) (per curiam) (unpublished); Brinkley v.

Harbour Recreation Club, 180 F .3d 598, 608 (4th Cir. 1999), abrogated on other grounds by Desert

                                                30

          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 30 of 44
. Palace. Inc. v. Cosm, 539 U.S. 90. Although a decisionmaker' s isolated stray remark is insufficient

to survive a motion for summary judgment, Sparks's statements are directly related to Epiphany's

4ecision to allegedly terminate Benjamin's employment. See Hill, 354 F.3d at 286; Wagner v.

Dillard Dep't Stores. Inc., 17 F. App'x 141, 147-48 (4th Cir. 2001) (per curiam) (impublished); cf.

Martin v. Alumax of S.C.. Inc., 380 F. Supp. 2d 723,727-29 (D.S.C. 2005). Therefore, the court

denies Epiphany's omotion for summary judgment on Benjamin's ADA claim.

        In reaching this conclusion, the court acknowledges Epiphany's discussion of the after-

 acquired evidence doctrine. See McKennon v. Nashville Banner Publ'g Co., 513 U.S. 352, 36<k>3

 (1995). "An after-acquired evidence defense limits an employer's liability when the employer

discovers evidence of wrongdoing of such severity that the employee in fact would have been

terminated on those grounds alone if the employer had known of it at the time of the discharge."

Dotson v. Pfizer. Inc., 558 F.3d 284,298 (4th Cir. 2009) (quotation and alteration omitted); see

McKennon, 513 U.S. at 362-63; Russell v. Microdyne Corp., 65 F.3d 1229, 1235-38 (4th Cir.

 1995). Once an employer shows that the employee committed sufficiently severe wrongdoing, the

trial court determines the employee's remedy by calculating backpay "from the date of the unlawful

discharge to the date the new information was discovered." McKennon, 513 U.S. at 362; see

Russell, 65 F.3d at 1238; EEOC v. Triangle Catering. LLC, No. 5:15-CV-16-FL, 2017 WL 818261,

at *11 (E.D.N.C. Mar. 1, 2017) (unpublished).

        Epiphany claims that Benjamin materially misrepresented his qualifications in his CV and

has substantial evidence to support that claim. See [D.E. 132] ~~ 63-75; cf. [D.E. 149] ~~ 27-77.

Although after-acquired evidence ofwrongdoing cannot defeat a plaintiff's discrimination claim, see

McKennon, 513 U.S. at 36<k>3; Penn v. Aerospace Corp., No. 1:08cv620 (ATJ/TRJ), 2009 WL

 585839, at *8 (E.D. Va. Mar. 6, 2009) (unpublished), such evidence can limit the amount ofbackpay

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           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 31 of 44
and defeat an award of front pay. Genuine issues ofmaterial fact exist concerning the after-acquired

evidence doctrine in this case. See O'Neal v. City ofNew Albany, 293 F.3d 998, 1003--04 (7th Cir.
                                                                                                  '

2002). Thus, this issue will be addressed at trial.

                                              , G..

       In count seven, Benjamin alleges that Epiphany retaliated against him in violation of Title

VII. See Am. Compl. ,, 149-53. Benjamin alleges that Epiphany took adverse actions against

him-including terminating his employment, subjecting him to disparate working conditions, and

forcing him and his family out of their hom¢-because Benjamin complained about Epiphany's

unlawful employment practices. See id. , 150. The elements of a Title VII retaliation claim are the

same as under section 1981 except that the protected activity has to concern alleged violations of

Title VII. See Humphries, 553 U.S. at 454-55; Boyer-Liberto, 786 F .3d at 281; Aleman v. Chugach

Support Servs.• Inc., 485 F.3d 206, 212-14 (4th Cir. 2007); Bcyant, 333 F.3d at 543. Benjamin

alleges no direct evidence of retaliation and relies on the burden-shifting framework.

       As for Benjamin's prima facie case, Benjamin cannot show that he engaged in protected

activity under Title VII. Benjamin could not have reasonably believed that Epiphany's employment

practices were unlawful, and Benjamin's advocacy for student, faculty, and staff diversity is not a

protected activity under Title VII. See DeMasters, 796 F.3d at 416-20 (discussing Title VII's

opposition clause); Stennis, 716 F. App'x at 166-67; Montgomecy, 2012 WL 3903784, at *9-10;

Byerlyv. IthacaColl., 290 F. Supp. 2d 301, 3Q9 &n.13 (N.D.N.Y. 2003); cf. Nelson v. Bank: ofAm..

Inc., No. 302CV687L, 2004 WL 942238, at *11-12 (N.D. Tex. Apr. 30, 2004) (unpublished).

Alternatively, Benjamin cannot show causation due to the time gap between Benjamin starting his

diversity initiative and Epiphany allegedly teiminating Benjamin's employment. See Breede!!, 532

U.S. at 273-74;   ~'    489 F. App'x at 643; Dowe, 145 F.3d at 657; Drago, 453 F.3d at 1308;

                                                 32

          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 32 of 44
  Richmond, 120 F .3d at 209. Therefore, Benjamin has failed to prove a prima facie case ofretaliation

  under Title VII.

           Alternatively, even ifBenjamin could establish a prima facie case, Epiphany had a legitimate,

  non-retaliatory reason for allegedly terminatiii.g Benjamin's employment. Moreover, Benjamin has

  not raised a genuine issue ofmaterial fact concerning whether Epiphany terminated his employment

  because of his alleged protected activity under Title VII.    See,~'    Reeves, 530 U.S. at 148-49;

  Holland, 487 F.3d 216-18; Laber, 438 F.3d at 430--31. Accordingly, the court grants Epiphany's

  motion for summary judgment on count seven.

                                                    III.

                                                    A.
           In counts eight and nine, Benjamin alleges that Epiphany and the Foundation breached their

  contracts with Benjamin by terminating the contracts without cause. See Am. Compl. ~~ 154--63.

  Both the Epiphany and the Foundation seek summary judgment, alleging that Benjamin resigned or,

  in the alternative, that Benjamin would have been fired for cause had he not resigned. See [D.E.

  2111   mr 49-51, s1; [D.E. 223J ~~ 199-202, 201-21o, 211, 239, 242-43.
         · North Carolina law governs both the independent contractor agreement with the Foundation

  and the employment contract with Epiphany. See [D.E. 141-12] 4; [D.E. 141-13] 7. Under North

  Carolina law, a breach-of-contract claim involves two elements: (1) the existence of a valid contract

  and (2) breach of the terms of that contract., McLamb v. T.P. Inc., 173 N.C. App. 586, 588, 619          r




  S.E.2d 577,580 (2005); Poorv. Hill, 138 N.C. App. 19, 26, 530 S.E.2d 838, 845 (2000). A breach

  of a contract occurs where there is '" [n ]on-performance[,] ... unless the person charged ... shows

: . some valid reason which may excuse the non-performance; and the burden of doing so rests upon

  him.'" Cater v. Barker, 172 N.C. App. 441,447, 617 S.E.2d 113, 117 (2005), aff'd, 360 N.C. 357,

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             Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 33 of 44
625 S.E.2d 778 (2006) (quoting Blount-Midyette v. Aeroglide Corp., 254 N.C. 484,488, 119 S.E.2d

225, 228 (1961)).

       As for Benjamin's breach of contract claim against Epiphany in count eight, section 7 of

Benjamin's employment contract with Epiphany governed termination.6 First, ifBenjamin resigned


       6
           The employment agreement contains the following definitions:

       a.       Resignation. Resignation by the Head of School shall mean any voluntary
       resignation or retirement by the Head of School. The Head of School is required to
       give at least six (6) monthS' advance written notice of resignation or retirement to
       Epiphany, and Epiphany is entitled upon receiving such notice, in its discretion, to
       accept such resignation as effective on: (1) the resignation date proposed by the
       Head of School, or (2) such other earlier date designated by Epiphany if that date is
       within the six month period proposed by the Head of School. Epiphany will be
       required to pay the Head of School his regular salary and benefits through Head of
       School's stated resignation date, regardless ofwhether the Head of School is actually
       permitted to perform any services for Epiphany during that period. IfHead of School
       does provide at least six (6) months' advance notice of resignation or retirement and
       if Head of School fulfills his duties in good faith during the six (6) month notice
       period (or for a lesser period if so designated by the Board as mentioned above),
       Epiphany shall pay Head of School the equivalent of one (1) month of his then-
       current salary, less normal deductions and withholdings, in severance pay. If Head
       of School does not provide at least six (6) months' advance notice ofhis resignation
       or retirement or if he does not fulfill his duties during his notice period, then he
       forfeits any entitlement to any severance pay.

       b.      Termination for Cause. "Termination for Cause" means termination of the
       employment of the Head of School (which can be immediate except as provided
       below) as the result of: (1) an act or apts by the Head of School, or any omission by
       the Head of School, constituting a· crime (with the exception of minor traffic
       violations); or (2) commission or omission by the Head of School of any act of fraud
       or dishonesty by the Head of School in connection with the Head of School's
       employment with Epiphany; or (3) misappropriation by the Head of School of funds
       or property of Epiphany or its employees; or (4) gross or willful misconduct by the
       Head of School resulting in damages to the reputation or operation of Epiphany; or
       (5) drug or alcohol addition or abuse by the Head of School; (6) intentional actions
       by the Head of School which he knows or'should have known are detrimental to the
       "Four Pillars" of Epiphany's foundat~on, or (7) the material breach of any provision
       of this Agreement by Head of School; or (8) insubordination by or the refusal of
       Head of School to follow specific lawful instructions given by the Board. Prior to
       Epiphany terminating Head of School's employment for cause under items 4, 6, 7 or

                                                34

           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 34 of 44
as headmaster, he would forfeit "any entitlement to any severance pay." [D.E. 141-13] 6. Second,

Benjamin could be terminated for cause immediately for "any act of fraud or dishonesty ... in

connection with [Benjamin's] employment with Epiphany." Id. The contract provides other grounds

for termination for cause, including "gross and willful misconduct by the [headmaster] resulting in

damage to the reputation or operation of Epiphany," intentionally violating Epiphany's "Four

Pillars," materially breaching the employment contract, and insubordination, but the contract requires

that Benjamin be given notice and thirty days to cure any "material breach or offending behavior."

ld. Finally, Benjamin could be terminated without cause "for any reason other than death, disability,

non-renewal of [the employment contract], or [termination for cause]." Id. If terminated without


       8 in the preceding sentence, the Board must give Head of School thirty (30) days
       written notice with the opportunity to cure the material breach or offending behavior
       specifically identifying the ~aterial breach or offending behavior and options to
       effectuate a cure to Employee (if such material breach or offending behavior is
       capable of being cured). Provided, however, if the material brea.Ch or offending
       behavior relates to Head of School p~rforming or completing a directive from the
       Board which cannot reasonably be performed or completed within thirty (30) days
       after such written notice, then, provided Head of School begins taking appropriate
       steps to perform or complete such directive and diligently pursues performance or
       completion of such directive within the thirty (30) day period, Head of School shall
       have a reasonable period of time within which to cure such material breach or
       offending behavior. Benjamin will not be entitled to any severance if Epiphany
       terminates him for cause under Paragraph 7(b).

       c.     Termination without Cause. For purposes of this Agreement, ["]Termination
       without Cause" shall mean any termin,ation ofthe employment ofthe Head of School
       by Epiphany for any .reason other .than death, disability, non-renewal of this
       Agreement, or "Termination for Cause." The Board can terminate the Head of
       School at any time without Cause, but Epiphany will be obligated to pay Head of
       School for the remainder of the Term of this Agreement (or the remainder of any
       extended term). In addition to paying Head of School for the remainder of the Term
       of this Agreement if he is terminated without cause, Epiphany will pay Head of
       School one (1) additional year ofhis then-current base salary ifthe Board terminates
       Head of School without cause during Term of this Agreement or any extended term.

[D.E. 141-13] 5--{i.

                                                 35

         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 35 of 44
                                            t   .




cause during the term ofhis contract, Benjamin would be paid the remainder ofhis contract plus one

additional year. ld.

       As for Benjamin's breach of contract claim against the Foundation, Benjamin's independent

contractor agreement with the Foundation stated: "Foundation may cancel this agreement upon

thirty (30) days written notice to.Benjamin for any reason. In the event that cancellation occurs ..

. for any reason other than ... any act or acts of fraud or dishonesty by Benjamin ... the Foundation

shall continue Benjamin's compensation for one calendar year following the date of cancellation."

[D.E. 141-12] 3.

       Epiphany and the Foundation contend that they did not terminate's Benjamin's contract, but

that Benjamin voluntarily resigned. See [D.E. 133] 25-26; [D.E. 150] 8-9; [D.E. 188] 9-10.

Alternatively, Epiphany and the Foundation contend that even if Benjamin did not resign, Epiphany

and the Foundation had multiple reasons to telminate Benjamin for cause: (1) misrepresentation of

time spent at the lower campus; (2) statements concerning involvement in LGBT club; (3) denial of

statements calling members of Epiphany community "racists and bigots"; and (4) misrepresentation

of qualifications. See [D.E. 150] 10-12; [D.E. 133] 27-29; [D.E. 132] ,, 45-46.

       The contracts are valid. As for breach, Benjamin has raised a genuine issue of material fact

concerning whether his resignation was voluntary or whether he was terminated by Epiphany and

the Foundation.    See,~'   Spring, 2017 WL 432789, at *2-3; Johnson v. Colonial Life & Accident

Ins. Co., 173 N.C. App. 365, 369-70, 618 S.E.2d 867, 870-71 (2005). A rational jury could

conclude that, during the November 21,   201~,      meeting, Epiphany and the Foundation terminated

Benjamin and forced him to draft and sign a.resignation letter.

       Assuming that a jury finds that Benjamin did not resign, genuine issues ofmaterial fact exist.

Epiphany could terminate the contract immediately for any act of fraud or dishonesty. Likewise, the

                                                    36

         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 36 of 44
Foundation could terminate the contract immediately for fraud or dishonesty. Genuine issues of

.material fact exist concerning whether Benja.rilin engaged in an act of fraud or dishonesty sufficient

to terminate either contract. In addition, the court assumes without deciding that Benjamin's alleged

misrepresentations on his CV, if proven, would provide cause to terminate the contracts, but

Epiphany and the Foundation did not know of the alleged misrepresentations on November 21. 7

Accordingly, the court denies Epiphany's motion for summary judgment on count eight and denies

the Foundation's motion for summary judgment on count nine.

                                                  B.
        In counts ten and eleven, Benjamin alleges that Sparks defamed him per se, or in the

alternative, defamed him pg quod. See Am. Compl. ~~ 164--80. Benjamin identifies the following

statements of Sparks: (1) an oral statement t~ Plihcik:, a recruiter for the firm Carney Sandoe who

initially recommended Benjamin for the position at Epiphany, in which Sparks said that "he thought

Saul was insane ... [and] that he may have had a stroke or something" and that Benjamin was no

longer the man that Sparks had hired, [D.E. 172-10] 7; see [D.E. 170] ~ 479; (2) an oral statement

to Epiphany's Board that Sparks "may be suffering from dementia or Alzheimer's or something
                 I




along those lines," [D.E. 172-8] 8; see [D.E. 170] ~ 478; (3) an oral statement to Epiphany parent


        7
          The after-acquired evidence doctrine and analogous North Carolina contract remedies also
can affect Benjamin's breachofcontractclaims. Cf. Johnson v. Bd. ofTrs. ofDurham Tech. Cmty.
Coli., 157 N.C. App. 38, 48-49, 577 S.E.2d 670, 676 (2003) ("If an employer can show that its
discovery of the employee's pre-discharge· misconduct was inevitable and iildependent of its
employment decision, back pay shall be limited to the time between the discharge and the time of
discovery.");Rinaldi v. CCX. Inc., No. 3:05-CV-108-RJC,2008 WL262297l,at *7 (W.D.N.C. July
2, 2008) (unpublished); Tooker v. Medex. Inc., No. 5:04-CV-2-H(2), 2005 WL 8131636, at *4
(E.D.N.C. July 13,2005) (unpublished); cf. O'Dayv. McDonnellDouglasHelicopterCo., 191 Ariz.
535, 538-39, 959 P.2d 792, 795-96 (1998) (en bane) ("The overwhelming majority of courts hold
that if an employer can demonstrate that it would have fired an employee had it known of prior
misconduct, then the employee's claim for breach of contract is barred or, put differently, the prior
misconduct excuses the employer's breach.").

                                                  37

            Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 37 of 44
Renee Coles and her husband in which Sparks said that "he had to terminate Mr. Benjamin because

Mr. Benjamin had dementia and bipolar disease" and that "bipolar disease runs in Benjamin's

family," [D.E. 143-32]   ~   24; see [D.E. 143-33]   ~   29; [D.E. 170]   ~   480; and (4} a series of

communications, both written and oral, to Dueck in which Sparks asserted that Benjamin was

suffering from a mental illness. See [D.E. 170] ~~ 473-77.

       To establish a defamation claim, a "plaintiff must allege and prove that the defendant made

false, defamatory statements of or concerning the plaintiff, which were published to a third person,

causinginjurytotheplaintiff'sreputation." Griffin v. Holde!l, 180N.C. App. 129, 133,636 S.E.2d

298,302 (2006) (quotation omitted); see Reriwick v. News & Observer Publ'g Co., 310 N.C. 312,

316-19,312 S.E.2d405, 408-10 (1984); Boyce & Isley. PLLC v. Cooper, 211 N.C. App. 469,478,

710 S.E.2d 309,317 (2011); Craven v. Cope, 188N.C. App. 814,816,656 S.E.2d 729,732 (2008);

Smith-Pricev. CharterBehavioralHealthSys;, 164N.C.App. 349,356,595 S.E.2d 778,783 (2004).

A defamatory statement is one that ''tend[s] to prejudice another in his reputation, office, trade,

business, or means oflivelihood." Donovan v. Fiumar~ 114 N.C. App. 524, 526, 442 S.E.2d 572,

574 (1994); see West v. King's Dep't Store. Inc., 321 N.C. 698, 703, 365 S.E.2d 621, 624 (1998).

Defamation includes two torts: libel and slander.    See,~'     Crave!l, 188 N.C. App. at 816, 656

S.E.2d at 732; Tallent v. Blake, 57 N.C. App. 249, 251, 291 S.E.2d 336, 338 (1982); cf. Renwick,

310N.C. at 323-24,312 S.E.2d at412-13. Generally, libel is written and slander is oral. See Bell

v. Simmons,247N.C.488,494, 101 S.E.2d383,387(1958);Aycockv. Padgett, 134N.C.App.164,

165, 516 S.E.2d 907, 909 (1999).

       Under North Carolina law, a claim of slander~ se has three elements: "(1) defendant spoke

base or defamatory words which tended to prejudice [plaintiff] in his reputation, office, trade,

business or means oflivelihood or hold him up to disgrace, ridicule, or contempt; (2) the statement

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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 38 of 44
was false; and (3) the statement was published or communicated to and understood by a third

person." West, 321 N.C. at 703, 365 S.E.2d at 624; Friel v. Angell Care Inc., 113 N.C. App. 505,

509,440 S.E.2d 111, 113-14(1994); seeBoyce&Isley.PLLCv. Cooper, 153 N.C. App. 25,29-30,

568 S.E.2d 893, 898 (2002).   Libel~ se is a false    written statement communicated to a third party

which, in relevant part here, "tends to impeach a person in that person's trade or profession [or]

otherwise tends to subject one to ridicule, contempt or disgrace." Renwick, 310 N.C. at 317, 312

S.E.2dat408--D9; seeFlakev. GreensboroNewsCo.,212N.C. 780,782,195 S.E. 55, 59--60(1938);

Cherry v. United Parcel Serv.. Inc., No. 5:07-CV-403-D, 2009·WL 8641019, at *9 (E.D.N.C. Sept.

28, 2009) (unpublished).
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       Whether a statement is defamatory pei' se is a question oflaw. See, e.g., Ellis v. N. Star Co.,

326 N.C. 219, 224, 388 S.E.2d 127, 130 (1990). When a plaintiff alleges that statements are

defamatory~     se, the statements "must be susceptible of but one meaning and of such nature that

the court can presume as a matter oflaw that they tend to disgrace and degrade the party or hold him

up to public hatred, contempt or ridicule, or cause him to be shunned and avoided." Boyce & Isley.

PLLC, 153 N.C. App. at 30-31, 568 S.E.2d at 898-99. In making this determination, the court

considers the statement alone without any explanatory circumstances, insinuations, innuendo, or

colloquium. See, e.g., Nucor Corp. v. Prudential Equity Grp .. LLC, 189 N.C. App. 731, 736, 659

S.E.2d 483, 487 (2008). A "pure expression ~f opinion" is not actionable under North Carolina law.

See id. at 736, 659 S.E.2d at486; Daniels v. Metro Magazine Holding Co .. LLC, 179 N.C. App. 533,

539-40, 634 S.E.2d 586, 590 (2006). Nevertheless, "someone cannot preface an otherwise

defamatory statement with 'in my opinion' and claim immunity from liability." Nucor Corp., 189,

N.C.App. at 736,659 S.E.2dat486; see Milkovich v. LorainJourna1Co.,497U.S. 1, 19-20(1990);

Design Res .. Inc. v. Leather Indus. of Am.,. 789 F.3d 495, 504--{)5 (4th Cir. 2015). In cases of

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         Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 39 of 44
defamation m se, damages and malice are presumed. See Donov;:m, 114 N.C. App. at 527, 442 ,

S.E.2d at 574.

        Viewing the record in the light most favorable to Benjamin, Benjamin has presented

sufficient evidence concerning whether Sparks's statements were false and whether Sparks

communicated to and was understood by third parties. At issue is whether Sparks's statements

prejudiced Benjamin in his reputation, office,. trade, business or means of livelihood or held him up

to disgrace, ridicule, or contempt.

        In Badame v. Lampke, the Supreme Court ofNorth Carolina held that "false words imputing

to a merchant or business man conduct derogatory to his character and standing as a business man

and tending to prejudice him in his business are actionable." 242 N.C. 755, 757, 89 S.E.2d 466, 468

(1955); see Boyce & Isley. PLLC, 153 N.C. App. at 30, 568 S.E.2d at 898. To be actionable m se,

''the false words (1) must touch the plaintiff in his special trade or occupation, and (2) must contain

an imputation necessarily hurtful in its effect on his business. That is to say, it is not enough that the

words used tend to injure a person in his business. To be actionable per se, they must be uttered of

him in his business relation." Badame, 242 N.C. at 757, 89 S.E.2d at 468; see Boyce & Isley, PLLC,

153 N.C. App. at 30, 568 S.E.2d at 898; Gibson v. Mut. Life Ins. Co., 121 N.C. App. 284, 289, 465

S.E.2d 56, 60 (1996); Clark v. Bro:Ml, 99 N.C. App. 255, 260-61, 393 S.E.2d 134, 137 (1990);

Spirax Sarco. Inc. v. SSIEng'g. Inc., 122F. Supp. 3d408, 435 (E.D.N.C. 2015); Greensboro Scuba

Sch.. LLCv. Robertson, No. COA 14-1126,~015 WL4429665,at *3 (N.C. Ct.App. July21,2015)

(unpublished table decision).

        Courts applying North Carolina law have found to be defamatory per se as prejudicing a

plaintiff's business or professional reputation, inter ali~ (1) statements implying or asserting that a

plaintiff is incompetent or incapable of performing a job, see Clark, 99 N.C. App. at 261, 393 S.E.2d

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          Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 40 of 44
 at 137; Dynamic Campus Sols.. Inc. v. Pfeiffer Univ., No. 1:17-cv-906, 2018 WL 2248534, at *4

. (M.D.N.C. Apr. 20, 20 18) (unpublished); (2) statements implying or asserting that a plaintiffengages

 in improper business practices, see Ellis, 326 N.C. at 223-25, 388 S.E.2d at 129-31; Broadway v.

 Cope, 208 N.C. 85, 88-89, 179 S.E. 452, 454-55 (1935); Boyce & Isley. PLLC, 153 N.C. App. at
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 32, 568 S.E.2d at 899~900; Ausley v. Bishop, 133 N.C. App. 210, 214-15, 515 S.E.2d 72, 75-76

 (11999); and (3) statements implying or asserting that a plaintiff engaged in illegal activity, see,~'

 Talbert v. Mauney, 80 N.C. App. 477, 480-:-81, 343 S.E.2d 5, 8 (1986). Cf. Ellis, 326 N.C. at

 229-30,388 S.E.2dat 133-34 (Meyer,J.,dissenting) (collecting cases). By contrast, statements that

 merely call a plaintiff dishonest or an ''untruthful and ... unreliable employee" are not actionable

 pg se. See Pierce v. Atl. Grp.• Inc., 219 N.C. App. 19, 35, 724 S.E.2d 568, 579 (2012); Stutts v.

 Duke Power Co., 47 N.C. App. 76, 82, 266 S.E.2d 861, 865 (1980); cf. Morris v. Bruney, 78 N.C.

 App. 668,673-677,338 S.E.2d561, 564-566 (1986). Moreover, statements that are innocuous on

 their face are not actionable per se. See Greensboro Scuba Sch., 2015 WL 4429665, at *4; Edwards

 v. Holde!!, No. COA 07-1454,2008 WL 2967935, at *4 (N.C. Ct. App. Aug. 5, 2008) (unpublished

 table decision).

         Here, a reasonable jury could find that at least some of Sparks's statements are assertions of

 fact that tend to prejudice Benjamin in his reputation and business. As for the statements to Coles,

 Plihcik, and the Board, Sparks did not merely call Benjamin dishonest or unreliable. He declared

 that Benjamin suffered from various mental illnesses that would make him unfit to lead a school

 again, and he communicated those statements to, among others, a recruiter that had recommended

 Benjamin to Epiphany's Board and other potential employers. Cf. Restatement (Second) of Torts

 § 573 cmt. c (Am. Law Inst. 1977) ("A, says to B that C, a merchant, is insane. A is subject to

 liability to C without proof of special harm.;'). Not only do Sparks's business-related statements

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           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 41 of 44
prejudice Benjamin, Sparks's statements concern Benjamin in his business as an educator.

See Johnson v. Bollinger, 86 N.C. App. 1, 10, 356 S.E.2d 378, 384 (1987).

       4s for Sparks's statement~ to Dueck,: the statements are personal and do not reflect on or

relate to Benjamin as a professional. Therefore, those statements are not defamatory per se. See id.;

cf. Milkovich,497U.S. at 17,20; Spirax Sarco. Inc., 122F. Supp. 3dat434; Daniels, 179N.C.App.

at 542, 634 S.E.2d at 592.

       Genuine issues of material fact exist concerning Sparks's statements to Coles, Plihcik, and

the Bpard. Thus, the court denies Sparks's motion for summary judgment on count ten as to those

statements. The court grants summary judgment to Sparks on count ten as to the statements he made

to Dueck.

       As for count eleven, Benjamin has not alleged or proven with particularity any special

damages resulting from Sparks's statements to Dueck. Thus, the court grants summary judgment

to Sparks on Benjamin's defamation per quod claim in count eleven.     See,~'   Gibson v. Mut. Life

Ins. Co., 121 N.C. App. 284,289,465 S.E.2d 56, 59 (1996).

                                                 c.
       In count fourteen, Benjamin alleges thfit Sparks falsely imprisoned him during the November

21, 2013, meeting. See Am. Compl. ,, 69-87, 192-95. Specifically, Benjamin alleges that Sparks

used threatening language, made threatening physical gestures, and prevented him from leaving the

conference room or bringing others into the room. See [D.E. 170] ,, 430-:31, 433, 435, 437-42;

[D.E. 172-1] 31-34, 36--39; [D.E. 172-7] 8-10. But see [D.E. 149] ,, 203-39; [D.E. 172-3] 6.

       Under North Carolina law, false imprisonment is the "illegal restraint ofone's person against

his will." Adams v. City ofRaleigh, 245 N.C. App. 330, 334, 782 S.E.2d 108, 112 (2016); see Black

v. Clark's Greensboro. Inc., 263 N.C. 226, 228, 139 S.E.2d 199, 201 (1964); Wilkerson v. Duke

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            Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 42 of 44
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    Univ., 229 N.C. App. 670, 674, 748 S.E.2d 154, 158 (2013); Hemric v. Groce, 169 N.C. App. 69,

    78, 609 S.E.2d 276, 283 (2005). To prove false imprisonment, a plaintiff must show "(1) the illegal

    restraint of the plaintiff by defendant, (2) by force or implied threat of force ... (3) against the

    plaintiff's will." Wilkerso!l, 229 N.C. App. at 674, 748 S.E.2d at 158.

           Sparks told Benjamin during the meeting that if Benjamin left, he would be fired for cause.

    See [D.E. 168] 10-11.   '~The   restraint that resulted simply from plaintiff's fear of losing his job is

    insufficient as a matter oflaw to make out a claim of false imprisonment." Johnson v. United Parcel

    Servs .• Inc., 722 F. Supp. 1282, 1284-85 (D. Md. 1989). Even viewing the evidence in the light

    most favorable to Benjamin, no rational jury could find that Sparks falsely imprisoned Benjamin.

    Accordingly, the court grants Sparks's motion for summary judgment on count fourteen.

                                                       D.

          In count fifteen, Benjamin alleges an assault claim against Sparks. See Am. Compl. ,,
                                              .                       .
    196-99. Benjamin has abandoned that claim because he failed to respond to Sparks's arguments

    concerning assault. See [D.E. 168]; cf. Feldman v. Law Enf'tAssocs. Corp., 955 F. Supp. 2d 528,

    536 (E.D.N.C. 2013); Yates v. Ford Motor Co., No. 5:12-CV-752-FL, 2015 WL 9222834, at *2

    (E.D.N.C. Dec. ~ 7, 2015) (unpublished); Davis v. Gregory Poole Equip. Co., No. 2:14-CV-12-BO,

    2015 WL 8484261, at *5 (E.D.N.C. Dec. 8, 2015) (unpublished). Nonetheless, the court has

    reviewed the record. The court grants Sparks's motion for summary judgment on count fifteen.

                                                      IV.

           In sum, the colirt enters this order to explain why the court granted in part and denied in part

    Epiphany's motion for summary judgment [D.E. 131], granted in part and denied in part the

    Foundation's motion for summary judgment [D.E. 139], and granted in part and denied in part

    Sparks's motion for summary judgment [D.E. 140]. Not later than November 5, 2018, the parties

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             Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 43 of 44
 shall advise the court whether they desire a court-hosted settlement conference with Magistrate Judge

·Gates. Not later than November 19, 2018, the parties also shall confer and propose trial dates for

February or March 2019. The proposal shallinclude an estimate of the trial length.

        SO ORDERED. This 1.8_ day ofOctpber 2018.




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           Case 4:14-cv-00186-D Document 244 Filed 10/29/18 Page 44 of 44
